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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


NEODRON LTD.,

                       Plaintiff,                   Case No.   6:19-cv-00396

                v.                                  JURY TRIAL DEMANDED

DELL TECHNOLOGIES, INC.,

                       Defendant.



                       COMPLAINT FOR PATENT INFRINGEMENT
                         AGAINST DELL TECHNOLOGIES, INC.

       This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff Neodron Ltd. (“Plaintiff” or “Neodron”)

makes the following allegations against Defendant Dell Technologies, Inc. (“Defendant”):

                                          INTRODUCTION

       1.       This complaint arises from Defendant’s unlawful infringement of the following

United States patents owned by Neodron, each of which generally relate to touchscreen

technology: United States Patent Nos. 8,102,286 (“’286 Patent”); 8,451,237 (“’237 Patent”); and

8,502,547 (“’547 Patent”) (collectively, the “Asserted Patents”).

       2.       Touchscreen technology plays a ubiquitous and important role in countless

electronic devices today. Beyond just providing greater usability to smartphones, tablets, and

notebooks, touchscreens now fill our lives in public and private spaces, from our homes and cars

to the restaurants and stores we visit.

       3.       But just a few decades ago, touchscreen technology could only be found in science

fiction books and film. Although the underlying science behind touch technology can be traced


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back to the 1940s, working touchscreens were not conceived and feasible until the mid-1960s,

when the first finger-driven touchscreen was invented by E.A. Johnson in 1965 at the Royal Radar

Establishment in Malvern, United Kingdom. Since then, it took several generations and major

technological advancements for touchscreens to achieve the level of complexity—and

convenience—we see and enjoy today.

       4.       Built on the fundamental breakthrough that our hands and fingers can form changes

in the capacitance of electrodes and electrode-connections when they are in close proximity to

them, touch technology has developed rapidly over the years. Along the way, engineers have

worked tirelessly to try to overcome the limitations and roadblocks touch technology presents.

From conceiving various ways to detect (and correctly ignore) unintentional touches, to

minimizing signal “noise,” to reducing the latency and power consumption that comes with any

complex, multi-part electrical process, there have been many advances to various aspects of the

technology—each building a little on a related advancement before it—to get us to the highly

advanced state we enjoy today.

       5.       These advancements range from fundamental ones, which make basic touch

technology work, to optional improvements, which typically represent one technological option

that improves aspects of the user experience and functionality of a touchscreen. This infringement

action is about the latter: several patented improvements—which took years of research and

millions of dollars in U.S. investments to develop, and which are infringed by Defendant’s

Accused Products.




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                                             PARTIES

       6.       Plaintiff Neodron Ltd. is an Irish company, having its principal place of business at

Unit 4-5, Burton Hall Road, Sandyford, Dublin 18, D18a094. Neodron is the sole owner by

assignment of all right, title, and interest in each Asserted Patent.

       7.       On information and belief, Defendant Dell Technologies, Inc. is a corporation

organized under the laws of the State of Delaware, with its principal place of business at One Dell

Way, Round Rock, Texas 78682.

                                 JURISDICTION AND VENUE

       8.       This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       9.       This Court has personal jurisdiction over Defendant in this action because

Defendant has committed acts within this District giving rise to this action, and has established

minimum contacts with this forum such that the exercise of jurisdiction over Defendant would not

offend traditional notions of fair play and substantial justice. Defendant, directly and through

subsidiaries or intermediaries, has committed and continues to commit acts of infringement in this

District by, among other things, making, using, offering to sell, selling, and importing products

that infringe the Asserted Patents.

       10.      Venue is proper in this District under 28 U.S.C. § 1400(b). Defendant is registered

to do business in Texas, and upon information and belief, Defendant has transacted business in

this District and has committed acts of direct and indirect infringement in this District by, among

other things, making, using, offering to sell, selling, and importing products that infringe the




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Asserted Patents. Defendant has a regular and established place of business in the District,

including its headquarters at One Dell Way, Round Rock, Texas 78682.

                                             COUNT I

                      INFRINGEMENT OF U.S. PATENT NO. 8,102,286

        11.     Neodron realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        12.     Neodron owns by assignment all rights, title, and interest in U.S. Patent No.

8,102,286, entitled “Capacitive Keyboard with Non-Locking Reduced Keying Ambiguity.”

The ’286 Patent was duly and legally issued by the United States Patent and Trademark Office on

January 24, 2012. A true and correct copy of the ’286 Patent is attached as Exhibit 1.

        13.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as the Dell Latitude 7389, that directly

infringe, literally and/or under the doctrine of equivalents, claims 1-24 of the ’286 Patent.

        14.     Defendant also knowingly and intentionally induces infringement of claims 1-24 of

the ’286 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this Complaint,

Defendant has had knowledge of the ’286 Patent and the infringing nature of the Accused Products.

Despite this knowledge of the ’286 Patent, Defendant continues to actively encourage and instruct

its customers and end users (for example, through its user manuals and online instruction materials

on its website) to use the Accused Products in ways that directly infringe the ’286 Patent.

Defendant does so knowing and intending that its customers and end users will commit these

infringing acts. Defendant also continues to make, use, offer for sale, sell, and/or import the

Accused Products, despite its knowledge of the ’286 Patent, thereby specifically intending for and




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inducing its customers to infringe the ’286 Patent through the customers’ normal and customary

use of the Accused Products.

        15.     The Accused Products satisfy all claim limitations of claims 1-24 of the ’286 Patent.

A claim chart comparing independent claim 1 of the ’286 Patent to a representative Accused

Product, the Dell Latitude 7389, is attached as Exhibit 2.

        16.     By making, using, offering for sale, selling, and/or importing into the United States

the Accused Products, Defendant has injured Neodron and is liable for infringement of the ’286

Patent pursuant to 35 U.S.C. § 271.

        17.     As a result of Defendant’s infringement of the ’286 Patent, Neodron is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

        18.     Defendant’s infringing activities have injured and will continue to injure Neodron,

unless and until this Court enters an injunction prohibiting further infringement of the ’286 Patent,

and, specifically, enjoining further manufacture, use, sale, importation, and/or offers for sale that

come within the scope of the patent claims.

                                            COUNT II

                      INFRINGEMENT OF U.S. PATENT NO. 8,451,237

        19.     Neodron realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        20.     Neodron owns by assignment all rights, title, and interest in U.S. Patent No.

8,451,237, entitled “Sensitivity Control as a Function of Touch Shape.” The ’237 Patent was duly




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and legally issued by the United States Patent and Trademark Office on May 28, 2013. A true and

correct copy of the ’237 Patent is attached as Exhibit 3.

       21.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as the Dell Latitude 7389, that directly

infringe, literally and/or under the doctrine of equivalents, claims 1-24 of the ’237 Patent.

       22.     Defendant also knowingly and intentionally induces infringement of claims 1-24 of

the ’237 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this Complaint,

Defendant has had knowledge of the ’237 Patent and the infringing nature of the Accused Products.

Despite this knowledge of the ’237 Patent, Defendant continues to actively encourage and instruct

its customers and end users (for example, through its user manuals and online instruction materials

on its website) to use the Accused Products in ways that directly infringe the ’237 Patent.

Defendant does so knowing and intending that its customers and end users will commit these

infringing acts. Defendant also continues to make, use, offer for sale, sell, and/or import the

Accused Products, despite its knowledge of the ’237 Patent, thereby specifically intending for and

inducing its customers to infringe the ’237 Patent through the customers’ normal and customary

use of the Accused Products.

       23.     The Accused Products satisfy all claim limitations of claims 1-24 of the ’237 Patent.

A claim chart comparing independent claim 16 of the ’237 Patent to a representative Accused

Product, the Dell Latitude 7389, is attached as Exhibit 4.

       24.     By making, using, offering for sale, selling, and/or importing into the United States

the Accused Products, Defendant has injured Neodron and is liable for infringement of the ’237

Patent pursuant to 35 U.S.C. § 271.




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        25.     As a result of Defendant’s infringement of the ’237 Patent, Neodron is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

        26.     Defendant’s infringing activities have injured and will continue to injure Neodron,

unless and until this Court enters an injunction prohibiting further infringement of the ’237 Patent,

and, specifically, enjoining further manufacture, use, sale, importation, and/or offers for sale that

come within the scope of the patent claims.

                                            COUNT III

                      INFRINGEMENT OF U.S. PATENT NO. 8,502,547

        27.     Neodron realleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        28.     Neodron owns by assignment all rights, title, and interest in U.S. Patent No.

8,502,547, entitled “Capacitive Sensor.” The ’547 Patent was duly and legally issued by the United

States Patent and Trademark Office on August 6, 2013. A true and correct copy of the ’547 Patent

is attached as Exhibit 5.

        29.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as the Dell Latitude 7389, that directly

infringe, literally and/or under the doctrine of equivalents, claims 1-17 of the ’547 Patent.

        30.     Defendant also knowingly and intentionally induces infringement of claims 1-17 of

the ’547 Patent in violation of 35 U.S.C. § 271(b). Through the filing and service of this Complaint,

Defendant has had knowledge of the ’547 Patent and the infringing nature of the Accused Products.

Despite this knowledge of the ’547 Patent, Defendant continues to actively encourage and instruct




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its customers and end users (for example, through its user manuals and online instruction materials

on its website) to use the Accused Products in ways that directly infringe the ’547 Patent.

Defendant does so knowing and intending that its customers and end users will commit these

infringing acts. Defendant also continues to make, use, offer for sale, sell, and/or import the

Accused Products, despite its knowledge of the ’547 Patent, thereby specifically intending for and

inducing its customers to infringe the ’547 Patent through the customers’ normal and customary

use of the Accused Products.

       31.     The Accused Products satisfy all claim limitations of claims 1-17 of the ’547 Patent.

A claim chart comparing independent claim 1 of the ’547 Patent to a representative Accused

Product, the Dell Latitude 7389, is attached as Exhibit 6.

       32.     By making, using, offering for sale, selling, and/or importing into the United States

the Accused Products, Defendant has injured Neodron and is liable for infringement of the ’547

Patent pursuant to 35 U.S.C. § 271.

       33.     As a result of Defendant’s infringement of the ’547 Patent, Neodron is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

       34.     Defendant’s infringing activities have injured and will continue to injure Neodron,

unless and until this Court enters an injunction prohibiting further infringement of the ’547 Patent,

and, specifically, enjoining further manufacture, use, sale, importation, and/or offers for sale that

come within the scope of the patent claims.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Neodron respectfully requests that this Court enter:

        a.       A judgment in favor of Neodron that Defendant has infringed, either literally and/or

under the doctrine of equivalents, the ’286 Patent, the ’237 Patent, and the ’547 Patent;

        b.       A permanent injunction prohibiting Defendant from further acts of infringement of

the ’286 Patent, the ’237 Patent, and the ’547 Patent;

        c.       A judgment and order requiring Defendant to pay Neodron its damages, costs,

expenses, and pre-judgment and post-judgment interest for Defendant’s infringement of the ’286

Patent, the ’237 Patent, and the ’547 Patent; and

        d.       A judgment and order requiring Defendant to provide an accounting and to pay

supplemental damages to Neodron, including without limitation, pre-judgment and post-judgment

interest;

        e.       A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Neodron its reasonable attorneys’ fees against Defendant; and

        f.       Any and all other relief as the Court may deem appropriate and just under the

circumstances.




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                                  DEMAND FOR JURY TRIAL

       Neodron, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.


Dated: June 28, 2019                        Respectfully submitted,

                                            /s/ Reza Mirzaie

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